Case 6:18-cv-01147-ACC-DCI Document 52 Filed 09/07/18 Page 1 of 14 PageID 2079



                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


 HINES INTERESTS LIMITED PARTNERSHIP, a
 Texas limited partnership; URBAN OAKS
 BUILDERS, LLC, a Delaware limited liability
 company; 1662 MULTIFAMILY LLC, a Delaware
 limited liability company; HINES 1662
 MULTIFAMILY, LLC, a Delaware limited liability
 company; HINES INVESTMENT MANAGEMENT
 HOLDINGS LIMITED PARTNERSHIP, a Texas
 limited partnership; HIMH GP, LLC, a Delaware
 limited liability company; HINES REAL ESTATE
 HOLDINGS LIMITED PARTNERSHIP, a Texas
 limited partnership; JCH INVESTMENTS, Inc., a
 Texas corporation;

       Plaintiffs,                                 CASE NO. 6:18-cv-1147-ACC-DCI
 v.

 SOUTHSTAR CAPITAL GROUP I, LLC, a Florida
 limited liability company; COTTINGTON ROAD
 TIC, LLC, a Delaware limited liability company;
 DURBAN ROAD TIC, LLC, a Delaware limited
 liability company; COLLIS ROOFING, INC., a
 Florida corporation; DA PAU ENTERPRISES,
 INC., a Florida corporation; FLORIDA
 CONSTRUCTION SERVICES, INC., a Florida
 corporation; STRUCTURAL CONTRACTORS
 SOUTH, INC., a Florida corporation;
 NAVIGATORS SPECIALTY INSURANCE
 COMPANY, a New York corporation; GEMINI
 INSURANCE COMPANY, a Delaware
 corporation; and IRONSHORE SPECIALTY
 INSURANCE COMPANY, an Arizona
 corporation,

      Defendants.
 _______________________________________/
Case 6:18-cv-01147-ACC-DCI Document 52 Filed 09/07/18 Page 2 of 14 PageID 2080



     PLAINTIFFS’ RESPONSE1 TO DEFENDANT, GEMINI INSURANCE COMPANY’S
      MOTION TO DISMISS OR, ALTERNATIVELY, MOTION FOR MORE DEFINITE
            STATEMENT AND INCORPORATED MEMORANDUM OF LAW
          Plaintiffs, HINES INTERESTS LIMITED PARTNERSHIP, URBAN OAKS

 BUILDERS, LLC, 1662 MULTIFAMILY LLC, HINES 1662 MULTIFAMILY, LLC, HINES

 INVESTMENT MANAGEMENT HOLDINGS LIMITED PARTNERSHIP, HIMH GP, LLC,

 HINES REAL ESTATE HOLDINGS LIMITED PARTNERSHIP, and JCH INVESTMENTS,

 INC. (collectively, the “Insureds”), by and through their undersigned counsel, hereby

 responds to Defendant, GEMINI INSURANCE COMPANY’s (“Gemini”) Motion to Dismiss

 or, Alternatively, Motion for More Definite Statement and Incorporated Memorandum of

 Law [Doc. 32] (“Gemini’s Motion”), and state:

     I.   BACKGROUND

          This case arises from an underlying state court construction defect action of the

 construction of a 306-unit apartment project located in Celebration, Florida (“the Project”),

 in the matter styled Southstar Capital Group I, LLC, et. al. v. 1662 Multifamily LLC, et. al.,

 Case No. 2018-CA-000415, pending in the Circuit Court of the Ninth Judicial Circuit in

 and for Osceola County, Florida (the “Underlying Action”). See [Doc. 2], ¶¶21, 44.

          1662 Multifamily was the original owner of the Project. [Doc. 2], ¶23. UOB was

 retained by 1662 Multifamily to be the General Contractor and to construct the Project.

 Id., ¶24. UOB contracted with subcontractors on the Project. Id., ¶25. For this Project and

 other projects, Hines Interests LP and/or UOB procured controlled insurance program




 1 On September 4, 2018, UOB filed a Suggestion of Bankruptcy [Doc. 46]. However, given
 that the Debtor UOB is prosecuting these claims, Plaintiffs file this response.
                                               2
Case 6:18-cv-01147-ACC-DCI Document 52 Filed 09/07/18 Page 3 of 14 PageID 2081



 (“CIP”) policies through Gemini, Ironshore and Navigators. Id., ¶32. Subcontractors that

 worked on the Project were also enrolled in the CIP. Id., ¶33.

           A. The CIP Policies

        Gemini issued to Hines Interests LP and UOB a “Commercial General Liability,

 Policy,” under policy number VCWP0001075, with an effective date of June 28, 2012, to

 July 31, 2017 (hereinafter the “Gemini Policy”). Id., ¶33. The Gemini Policy provides the

 following limits of liability: $2,000,000 each occurrence; $4,000,000 general aggregate;

 $4,000,000 products-completed operations aggregate limit. Id., ¶34.

        Ironshore issued to UOB an “ExcessProtect Commercial Excess Liability Policy”,

 under policy number 00102500, with an effective date of June 28, 2012, to July 31, 2017

 (hereinafter the “Ironshore Excess Policy”). Id., ¶35. The Ironshore Excess Policy

 provides the following limits of liability: $10,000,000 each occurrence, per claim or per

 loss; $25,000,000 general aggregate; $20,000,000 product/completed operations

 aggregate. Id., ¶36. The Ironshore Excess Policy contains an “ExcessProtect Schedule

 of Underlying Insurance” Endorsement, Form CEL.END.001(10/11), which provides that

 the controlling underlying insurance is Gemini Policy. Id., ¶36.

        Navigators issued to UOB a “Follow Form Excess Liability Policy,” under policy

 number SE12FXS754225IC, with an insuring agreement of June 28, 2012, to July 31,

 2017 (hereinafter the “Navigators Excess Policy”). Id., ¶38. The Navigators Excess Policy

 provides the following limits as modified by “Amendment – Aggregate Limits of Insurance”

 Endorsement, Form NAV-ECD-100 (3/05): $15,000,000 each event; $15,000,000 general

 aggregate; and $15,000,000 for products-completed operations aggregate. Id., ¶39. The

 Navigators   Excess    Policy   contains   an    “Amendment-Schedule     of   Underlying”



                                              3
Case 6:18-cv-01147-ACC-DCI Document 52 Filed 09/07/18 Page 4 of 14 PageID 2082



 Endorsement, Form NAV-ECD-104 (05/10), which provides that the Ironshore Excess

 Policy as underlying insurance. Id., ¶40.

           B. The Underlying Action

        The original construction of the Project was completed in February 2016. On or

 about July 1, 2016, Southstar, as manager and agent for Cottington and Durban Road,

 entered into an agreement with 1662 Multifamily to purchase the Project. Id., ¶42.

        Southstar has made claims against the Insureds on the Project for damages

 related to defective construction and other claims. Id., ¶43. Southstar estimates the cost

 of the repairs required due to the allegedly defective work and resulting damages

 (including lost rent allegedly caused by the need to vacate the apartments as a result of

 the defective work) at more than $45,000,000. Southstar further estimates that for the

 lost rent claim alone, damages will continue to escalate at over $451,000 each month.

 Id., ¶44 (emphasis added).

        Insureds have demanded that Gemini, Ironshore, and Navigators defend them for

 the claims and in the Underlying Action. Id., ¶49. Yet, neither Gemini, Ironshore, nor

 Navigators have agreed to defend the Insureds. Id., ¶44. To be sure, Gemini contends it

 does not have to defend the Insureds because it believes its policy is exhausted under

 the single occurrence limit. See [Doc. 32]. On the other hand, Ironshore contends, among

 other arguments, that Gemini must still defend the Insureds because the Underlying

 Action concerns multiple occurrences, which means that regardless of whether Gemini

 paid $2,000,000.00, Gemini must still defend the Insured since the Gemini Policy’s

 general aggregate limit of liability of $4,000,000.00 is not exhausted. See [Doc. 33].




                                             4
Case 6:18-cv-01147-ACC-DCI Document 52 Filed 09/07/18 Page 5 of 14 PageID 2083



        In short, Gemini, Ironshore and Navigators have elected fight amongst themselves

 over who should defend the Insureds rather than actually protecting the Insureds by

 defending. Gemini, Ironshore, and Navigators have decided to engage in this behavior in

 a case where the claimants in the Underlying Action have demanded more than

 $45,000,000.00—an amount that clearly reaches and exceeds all the policies listed.

 Consequently, the Insureds filed this instant case against Gemini, Ironshore and

 Navigators seeking declarations on the duty to defend and indemnify the insureds in the

 Underlying Action. [Doc. 2].

  II.   MEMORANDUM OF LAW

            A. Motion to Dismiss Standard

        Upon consideration of a motion to dismiss, the Court takes the factual allegations

 as true and construes the complaint in the light most favorable to the plaintiff. Bell Atlantic

 Corp. v. Twombly, 550 U.S. 544, 555-56 (2007); see also McNider Marine, LLC v. Cain

 & Daniels, Inc., No. 8:17-cv-2561-T-24 JSS, 2018 WL 1382768, at *1 (M.D. Fla. Mar. 19,

 2018) (“In deciding a motion to dismiss, the district court is required to view the complaint

 in the light most favorable to the plaintiff.”).

        The complaint must “contain sufficient factual matter, accepted as true, to state a

 claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. Determining

 whether a complaint states a plausible claim for relief is a context-specific task that

 requires the reviewing court to draw on its judicial experience and common sense.

 Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). Generally, a plaintiff is not required to detail

 all the facts upon which he bases his claim. FED. R. CIV. P. 8(a)(2). Rather, Rule 8(a)(2)

 requires a short and plain statement of the claim that fairly notifies the defendant of both



                                                    5
Case 6:18-cv-01147-ACC-DCI Document 52 Filed 09/07/18 Page 6 of 14 PageID 2084



 the claim and the supporting grounds. Twombly, 550 U.S. at 555-56. A motion to dismiss

 “should not be granted if the factual allegations ‘are enough to raise a right to relief above

 the speculating level.’” FTC v. Student Aid Ctr., Inc., 281 F. Supp. 3d 1324, 1331 (S.D.

 Fla. 2016) (quoting Twombly, 550 U.S. at 555). “A complaint will survive a motion to

 dismiss “even if it appears that a recovery is very remote and unlikely.’” Id. (quoting

 Twombly, 550 U.S. at 556).

             B. Standard for More Definite Statement

          Rule 12(e), FED. R. CIV. P. provides in relevant part that:

            If a pleading to which a responsive pleading is permitted is so vague
            or ambiguous that a party cannot reasonably by required to frame a
            responsive pleading, he may move for a more definite statement
            before interposing his responsive pleading.

 Most Courts disfavor the use of Rule 12(e) because it is often used to delay the

 proceedings. Royal Shell Vacations, Inc. v. Scheyndel, 233 F.R.D. 629, 630 (M.D. Fla.

 2005) citing Dismuke v. Florida Board of Governors, 2005 WL 1668895 (M.D. Fla. July 8,

 2005) (citing FED. R. CIV. P. 12(e)). Motions for more definite statements should only be

 granted where the pleading is so vague or ambiguous that a party cannot reasonably be

 required to frame a responsive pleading. Id. A motion for more definite statement should

 not be used as a means of discovery. Pucci v. USAir, 940 F.Supp. 305, 310 (M.D. Fla.

 1996).

 III.     GEMINI’S MOTION SHOULD BE DENIED BECAUSE THE COMPLAINT STATES A CLAIM

             A. The Complaint States a Claim for Relief

          The Complaint states a claim for relief. Therefore, the Insureds request that

 Gemini’s Motion to Dismiss be denied. As its first argument, Gemini alleges that the

 Complaint contains “irreconcilable and contradictory allegations”. See [Doc. 32], p. 5.

                                                6
Case 6:18-cv-01147-ACC-DCI Document 52 Filed 09/07/18 Page 7 of 14 PageID 2085



     Gemini argues that the complaint fails to state a claim against Gemini because it alleges

     that the two excess insurers Ironshore and Navigators owe the Insureds a duty to defend

     which is inconsistent. Id. Gemini’s argument fails.

           First, the standard in a motion to dismiss states that a motion to dismiss “should

 not be granted if the factual allegations ‘are enough to raise a right to relief above the

 speculating level.’” FTC v. Student Aid Ctr., Inc., 281 F. Supp. 3d 1324, 1331 (S.D. Fla.

 2016) (quoting Twombly, 550 U.S. at 555). Insureds have shown they are entitled to

 seek a declaration of the duty to defend based on the allegations of the Complaint. Here,

 the Complaint seeks declaratory relief as to the certain rights, duties and obligations

 under various insurance policies.2 Insureds seek a declaration on their right, duties, and

 obligations owed to them under the Gemini Policy, including, but not limited to:

                 a.     The applicability of the Gemini Policy to the damages as
                        alleged in the Underlying Action;
                 b.     The Subcontractor Defendants are insureds under the Gemini
                        Policy;
                 c.     Whether the damages alleged in the Underlying Action
                        constitute “property damage”;
                 d.     Whether there is an “occurrence”;
                 e.     Whether the damages alleged in the Underlying Action
                        constitute more than one “occurrence”;
                 f.     Whether the damages sustained constitute a covered loss
                        under the Gemini Policy in the Underlying Action; and
                 g.     Whether Florida or Texas law applies to the interpretation of
                        the Gemini Policy.

 [Doc. 2], ¶ 55.        Specifically the WHEREFORE clause states that the “Plaintiffs

 respectfully request that this Honorable Court declare the rights of the parties as follows”:

                 a.     That this Court has jurisdiction over the subject matter;
                 b.     That this Court has jurisdiction over the parties in this matter;


 2 Plaintiffs initially filed this lawsuit in state court, which was later removed by Gemini to
 this Court. However, at the time of filing, the Complaint was brought under Florida’
 Declaratory Judgment Act.
                                                7
Case 6:18-cv-01147-ACC-DCI Document 52 Filed 09/07/18 Page 8 of 14 PageID 2086



               c.    That the Gemini Policy applies to the damages as alleged in
                     the Underlying Action;
               d.    That Gemini owes a duty to defend Plaintiffs from any and all
                     claims in the Underlying Action;
               e.    That Gemini owes a duty to indemnify Plaintiffs from any and
                     all claims in the Underlying Action;
               f.    That the damages alleged in the Underlying Action constitute
                     “property damage”;
               g.    That the damages alleged in the Underlying Action constitute
                     an “occurrence”;
               h.    That the damages alleged in the Underlying Action constitute
                     more than one “occurrence”;
               i.    Whether the damages sustained constitute a covered loss
                     under the Gemini Policy;
               j.    That the Gemini Policy provides coverage for Plaintiffs’ liability;
               k.    The Subcontractor Defendants are insureds under the Gemini
                     Policy;
               l.    Determine whether Florida or Texas law applies to the
                     interpretation of the Gemini Policy;
               m.    That Plaintiffs have the right to control the defense in the
                     Underlying Action due to the breach of the Policy;
               n.    That the Gemini Policy provides coverage for Plaintiffs’ legal
                     expenses incurred in addressing the claims of Southstar,
                     Cottington, and Durban Road in the Underlying Action;
               o.    That Gemini owes attorneys’ fees and costs pursuant to
                     Florida Statutes §§ 627.428, 57.104, 57.041, and/or 627.9373
                     and/or § 542.060 Tx. Ins. and §38.001 Tx. Civ. Prac. & Rem.;
               p.    That this Court retain jurisdiction to grant supplemental relief
                     pursuant to § 86.061, Florida Statutes, including but not limited
                     to any determinations relative to coverage for indemnification
                     for the claim and/or the scope of coverage available for the
                     damages alleged in the Underlying Action and pursuit of extra-
                     contractual damages; and
               q.    All other relief as this Honorable Court deems just and proper.

 Id. at p. 13-14.

        The Insureds’ Complaint meets the pleading requirements of Rule 8 by

 establishing the existence of an “actual controversy” between the parties suitable for a

 declaratory judgment by this Court. Specifically, the Complaint states the Gemini issued

 a policy of insurance to the Insureds and attaches a copy of the policy which outlines the

 duties Gemini owes to its insureds. [Doc. 2], ¶¶ 33-34, [Doc. 2-15 & 2-16]. The Complaint

                                              8
Case 6:18-cv-01147-ACC-DCI Document 52 Filed 09/07/18 Page 9 of 14 PageID 2087



 states and attaches the claim and lawsuit against the Insureds. Id., ¶¶ 44-48. The

 Complaint states that Insureds have demanded that Gemini and the other insurance

 carriers defend them in the Underlying Action and that Gemini has not defended the

 Insureds. Id., ¶ 49, 50. Additionally, the Complaint states “Plaintiffs are in doubt as to

 their right, duties, and obligations owed to them pursuant to the Gemini Policy, including,

 but not limited to:…..” [Doc. 2], ¶ 55. The Complaint further states that “Plaintiffs are in

 need of and entitled to a judicial declaration . . .” regarding the same. Id. The Complaint

 states that an “actual controversy exists…..” Id. The Complaint makes these allegations

 based on Gemini’s refusal to defend the Insureds. These facts enable the Insureds to

 state a claim for declaratory relief. See Killian Palms Country Club and Sports Complex,

 LLC v. Scottsdale Ins. Co., 2011 WL 13223719, *2-3 (S.D. Fla. Aug. 16, 2011) (holding

 that insured state a claim for declaratory relief where its complaint contained allegations

 that its insurer had denied the insured a contractual right).

       Gemini’s arguments in their Motion further establishes that there is a present

 “actual controversy” that is ripe for adjudication by this Court with respect to the

 application of the Gemini Policy to the claims asserted in the Underlying Action. The crux

 of Gemini’s argument is that because it paid $2,000,000.00 it does not have to defend

 the Insureds. However, if this Court declares the Underlying Action concerns multiple

 occurrences, then that $2,000,000.00 payment is nothing more than a red herring

 because Gemini would have to put at least an additional $2,000,000.00 subject to the

 $4,000,000.00 general aggregate limit of liability. But the mere fact that Gemini contests

 its defense obligation on the single occurrence limit establishes the existence of an actual

 controversy the Insureds are entitled to receive a declaration on.



                                              9
Case 6:18-cv-01147-ACC-DCI Document 52 Filed 09/07/18 Page 10 of 14 PageID 2088



        Second, a complete reading of the Complaint addresses Gemini’s concerns

  regarding inconsistency – Count I seeks a declaration “Whether there is an “occurrence’”.

  [Doc. 2], ¶ 55(d). As noted above, none of the insurance carriers are defending. Id.,

  ¶44. Instead, Gemini, Ironshore and Navigators are fighting amount themselves as to

  which party should be defending the Insureds, while Insureds are left defending

  themselves in the Underlying Action. To this point, Gemini has stated that its policy is

  exhausted under the single occurrence limit and thus it owes no duty to defend. See

  [Doc. 32]. Ironshore, the first excess policy, has filed a counterclaim against Gemini

  stating that Gemini owes a duty to defend the Insureds because it has not yet exhausted

  under a single occurrence, and even if it did pay under a single occurrence, Gemini still

  owes a duty to defend because there were multiple occurrences. See [Doc. 33]. Insureds

  seek a declaration as to the number of occurrences as to this issue. [Doc. 2], ¶ 55(d) and

  p. 14, subsection (h).    There are two possible rulings in this regard: (1) multiple

  occurrences exist, which precludes the exhaustion of Gemini’s Policy and means Gemini

  has a duty to defend the Insureds or (2) a single occurrence applies, Gemini’s policy is

  exhausted (setting aside the arguments that the payments made by Gemini were for

  covered “property damage”), and Ironshore and/or Navigators has a duty to defend.

  Thus, the allegations in the Complaint are not inconsistent.

        The purpose behind the Declaratory Judgment Act is to afford relief from

  uncertainty and insecurity with respect to rights, status and other legal relations, which

  the Insureds seek in their Complaint. See Rozier v. Hartford Ins. Co. of the Midwest, No.

  14-CIV-20547, 2014 WL 6751639, at *4 (S.D. Fla. Dec. 1, 2014). Insureds’ Complaint




                                             10
Case 6:18-cv-01147-ACC-DCI Document 52 Filed 09/07/18 Page 11 of 14 PageID 2089



  pleads sufficient facts that entitle them to seek this relief. Accordingly, Gemini’s Motion

  fails to establish that dismissal is appropriate under Rule 12(b)(6) and must be denied.

            B. Declaratory Relief against All Defendants is Proper

        As it second argument, Gemini argues that the Complaint violates Rule 8 by

 seeking the same declaratory relief against Gemini, Ironshore and Navigators. See [Doc.

 32], p. 7. Again, this argument fails.

        Initially, there are separate counts against each insurance carrier that seeks their

 rights, duties and obligations respective to their policies as evidenced by the attachment

 of their policies. The Court will be required to review each policy and make a declaration

 owed under each policy. Contrary to Gemini’s broad and blanket assertions, Insureds

 seek separate declarations as to each insurance carrier, which is why a separate count

 is directed to each individual carrier. For example, the Count I, which is directed to Gemini,

 seeks a declaration of Plaitintiffs’ “rights, duties and obligation, regarding the [requested

 declarations] under the Gemini Policy.” See [Doc. 2], ¶ 55. Conversely, Count II, which

 is directed at Ironshore, seeks “rights, duties and obligation, regarding the [requested

 declarations] under the Ironshore Excess Policy.” Id., ¶ 62.

        Additionally, as stated above, because no insurance carrier is defending the

  Insureds, the Insureds are entitled to seek a declaration as to the duty to defend as to

  each carrier. Either Gemini or Ironshore owe a duty to defend based upon the specific

  declarations that Insureds seek, which apply under all the policies at issue here. Insureds

  are entitled to seek this relief at this state of litigation. See Rozier v. Hartford Ins. Co. of

  the Midwest, No. 14-CIV-20547, 2014 WL 6751639, at *4 (S.D. Fla. Dec. 1, 2014)(citing

  Diamond Ctr., Inc. v. Leslie's Jewelry Mfg. Corp., 562 F.Supp. 2d 1009, 1017 (W.D. Wis.



                                                11
Case 6:18-cv-01147-ACC-DCI Document 52 Filed 09/07/18 Page 12 of 14 PageID 2090



  2008) (holding in favor of plaintiff whose claims included different types of relief); accord

  In re Light Cigarettes Mktg. Sales Practices Litig., 751 F.Supp. 2d 183 (D.Me. 2010)

  (allowing plaintiffs in a multi-district litigation to assert multiple and duplicative, legal and

  equitable, claims for relief).

           Moreover, many of the same declarations are sought against each defendant

  insurance carrier because they must all be bound to the same determinations and

  declarations to certain declarations as to what damages alleged in the Underlying Action

  constitute “property damage”3 which is the same defined term in each policy. This avoids

  inconsistent outcomes.

           As such, Gemini’s Motion fails to establish that dismissal is appropriate under Rule

     12(b)(6) and must be denied.

              C. The Complaint is Clear and a More Definite Statement is Not Needed

           Lastly, Gemini argues the Complaint is “too vague and inconsistent” for Gemini to

 meaningfully respond. [Doc. 32], p. 8. Yet, despite this apparent vagueness, Gemini

 drafted a 10-page response directed at the Complaint wherein Gemini identified the

 pertinent issues and was even able to center its argument on the exhaustion the single

 occurrence limit of liability. To this point, Gemini is clearly on notice as to the claim for

 relief.




 3 The Gemini Policy defines “property damage” as “(a) physical injury to tangible property,
 including all resulting loss of use of that property. All such loss of use shall be deemed to
 occur at the time of the physical injury that caused it; or (b) loss of use of tangible property
 that is not physically injured. All such loss of use shall be deemed to occur at the time of
 the “occurrence” that caused it.” [Doc. 2-1], p. 21. The excess policies adopt the same
 terms. See [Doc. 2-17], p. 7.
                                                12
Case 6:18-cv-01147-ACC-DCI Document 52 Filed 09/07/18 Page 13 of 14 PageID 2091



          The federal system judges pleading under a notice standard. Scheyndel, 233

 F.R.D. at 630 (M.D. Fla. 2005) citing Reich v. Gentle Dental Care of Sarasota, Inc., 1996

 WL 78361 (M.D. Fla. Feb. 16, 1996). The rules state in pertinent part:

       [a] pleading which sets forth a claim for relief, whether an original claim,
       counterclaim, cross-claim, or third party claim, shall contain (1) short and plain
       statement of the grounds upon which the court's jurisdiction depends, unless
       the court already has jurisdiction and the claim needs no new grounds of
       jurisdiction to support it, (2) a short plain statement of the claim, and (3) a
       demand for judgement for the relief the pleader seeks. Relief in the alternative
       or of several different types may be demanded.
 FED. R. CIV. P. 8(a). Therefore, if the Plaintiff's complaint indicates generally the type of

 litigation involved it is sufficient to put the Defendants on notice. Reich, 1996 WL 78361

 *2.

          Here, Gemini is clearly aware of the relief requested. In fact, Gemini even points

 to allegations specific to this claim that it wants included in the Complaint in order to

 vindicate its position. Certainly, if Gemini is able to identify the pertinent issues and then

 posit facts in support of its position, the Complaint contained sufficient facts to put Gemini

 on notice of relief sought. See 2032 Land Trust East Coast Prop. Liquidation Corp. v.

 Lexington Ins. Co., 2016 WL 8793510, *2 (S.D. Fla. June 6, 2016) (denying motion for

 more definite statement where insurer clearly had notice of underlying facts giving rise to

 the complaint for declaratory relief). Accordingly, Gemini’s Motion fails to establish that

 more definite statement is needed under Rule 12(e). As such, the Insureds request that

 this Court deny Gemini’s motion for more definite statement.

          WHEREFORE, Plaintiffs HINES INTERESTS LIMITED PARTNERSHIP, URBAN

 OAKS BUILDERS, LLC, 1662 MULTIFAMILY LLC, HINES 1662 MULTIFAMILY, LLC,

 HINES INVESTMENT MANAGEMENT HOLDINGS LIMITED PARTNERSHIP, HIMH GP,

 LLC, HINES REAL ESTATE HOLDINGS LIMITED PARTNERSHIP, and JCH

                                                13
Case 6:18-cv-01147-ACC-DCI Document 52 Filed 09/07/18 Page 14 of 14 PageID 2092



 INVESTMENTS, INC., respectfully request that this Court deny Defendant Gemini

 Insurance Company’s Motion to Dismiss or, Alternatively, Motion for More Definite

 Statement and Incorporated Memorandum of Law [Doc. 32].

 Dated: September 7, 2018

                                                Respectfully Submitted,
                                                /s/ Molly Chafe Brockmeyer
                                                Mark A. Boyle
                                                Florida Bar No. 0005886
                                                Molly Chafe Brockmeyer
                                                Florida Bar No. 0105798
                                                Justin M. Thomas
                                                Florida Bar No. 89405
                                                Boyle & Leonard, P.A.
                                                2050 McGregor Blvd.
                                                Fort Myers, Florida 33901
                                                (239) 337-1303
                                                (239) 337-7674 – Facsimile
                                                eservice@insurance-counsel.com
                                                mboyle@insurance-counsel.com
                                                mbrockmeyer@insurance-counsel.com
                                                jthomas@insurance-counsel.com



                              CERTIFICATE OF SERVICE

       I CERTIFY that on September 7, 2018, I electronically filed this document using

 the CM/ECF system, which will automatically serve the parties to this action. I am

 unaware of any non-CM/ECF participants in this lawsuit.


                                                /s/ Molly Chafe Brockmeyer
                                                Molly Chafe Brockmeyer
                                                Florida Bar No. 105798




                                           14
